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 AO 91 (Rev. 11/11) Criminal Complaint                                      AUSA Saqib M. Hussain (312) 353-1414

         4/2023
          2/1                            UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF ILLINOIS
               . BRUTO    N
     THOMA.SDG
             IS T R IC T COURT                EASTERN DIVISION
  CLERK, U.S
 UNITED STATES OF AMERICA

                         v.                             CASE NUMBER: 23CR89

 VICTOR A. BARAKAT

                                             CRIMINAL COMPLAINT

       I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about February 8, 2023, at Rolling Meadows, in the Northern District of Illinois, Eastern Division,
the defendant violated:
      Code Section                                    Offense Description
      Title 18, United States Code, Section           by force, violence, and intimidation, took from the
      2113(a)                                         person and presence of bank employees approximately
                                                      $224 in money belonging to, and in the care, custody,
                                                      control, management, and possession of Fifth Third
                                                      Bank, 1801 W. Algonquin Road, Rolling Meadows,
                                                      Illinois, the deposits of which were then insured by the
                                                      Federal Deposit Insurance Corporation

    This criminal complaint is based upon these facts:
      X   Continued on the attached sheet.


                                                           ROBERT P. ARONSON
                                                           Special Agent, Federal Bureau of Investigation
                                                           (FBI)

Pursuant to Fed. R. Crim. P. 4.1, this Complaint is presented by reliable electronic means. The above-
named agent provided a sworn statement attesting to the truth of the Complaint and Affidavit by telephone.

 Date: February 14, 2023
                                                                          Judge’s signature

 City and state: Chicago, Illinois                     M. DAVID WEISMAN, U.S. Magistrate Judge
                                                                  Printed name and title
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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

                                   AFFIDAVIT

      I, ROBERT P. ARONSON, being duly sworn, state as follows:

      1.     I am a Special Agent with the Federal Bureau of Investigation (FBI) and

have been so employed since February 2022. My current responsibilities include the

investigation of violent crimes, including, among others, kidnaping, bank robbery,

and the apprehension of violent fugitives.

      2.     This affidavit is submitted in support of a criminal complaint alleging

that VICTOR A. BARAKAT has violated Title 18, United States Code, Section

2113(a).   Because this affidavit is being submitted for the limited purpose of

establishing probable cause in support of a criminal complaint charging BARAKAT

with bank robbery, I have not included each and every fact known to me concerning

this investigation. I have set forth only the facts that I believe are necessary to

establish probable cause to believe that the defendant committed the offense alleged

in the complaint.

      3.     This affidavit is based on my personal knowledge, information provided

to me by other law enforcement, information provided to me by other law enforcement

agents, information that appears in law enforcement, records, interviews of

witnesses, my review of surveillance videos and images, my training and experience,

and the experience of other law enforcement agents.
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I.    FACTS SUPPORTING PROBABLE CAUSE

      A.     Summary

      4.     On February 8, 2023, at approximately 5:04 p.m., a white male subject,

later identified as VICTOR A. BARAKAT, robbed the Fifth Third Bank using a silver

handgun. As detailed below, the Federal Bureau of Investigation along with other

law enforcement officers (LEOs) identified BARAKAT based on (a) a cell phone

associated with BARAKAT that the suspect left on the teller counter during the bank

robbery, (b) the gold-colored Toyota Camry that the suspect used to travel to and from

the robbery, and (c) a witness who formerly employed BARAKAT and positively

identified the bank robber from Fifth Third Bank surveillance photographs as

BARAKAT. BARAKAT was arrested at approximately 9:05 p.m. on February 13,

2023, after drawing a handgun on a local law enforcement officer who had knocked

on BARAKAT’s front door at BARAKAT’s residence.

      B.     Robbery of the Fifth Third Bank on Algonquin Road

      5.     On or about February 8, 2023, at approximately 5:04 p.m., Victim Teller

2 was working at the Fifth Third Bank on West Algonquin Road in Rolling Meadows,

Illinois when a white male subject entered the bank carrying a small black duffle bag

and asked if the bank was closed. The subject was the only non-employee in the bank

throughout the encounter.     Fifth Third Bank surveillance captured the subject

entering the bank:




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      6.     According to Victim Teller 2, the subject then slowly approached Victim

Teller 2’s counter and stated that he had a gun and stated that the tellers should not

make him cock the gun. Victim Teller 2 then heard what sounded like a gun being

cocked by the subject, though Victim Teller 2 did not see a gun because the subject’s

hands were inside his black coat. Fifth Third Bank surveillance shows the subject

holding a silver pistol inside the bank:




The subject then placed a small black duffle bag on the counter, as depicted below:




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      7.     According to Victim Teller 2 and the surveillance video:

             a.     The subject demanded that Victim Teller 2 give the subject all

that Victim Teller 2 had and not to do anything stupid. Victim Teller 2 replied that

Victim Teller 2 did not have a teller drawer because Victim Teller 2 was in training.

The subject then turned to Victim Teller 1, who was standing next to Victim Teller 2,

and demanded money.

             b.     Victim Teller 1 stated that Victim Teller 1 did not have the keys

to the teller drawer. The subject then stated that Victim Teller 1 had sixty seconds

to give the subject all that Victim Teller 1 had in large denominations bills only or

else the subject would “blow this place up.”

      8.     According to Victim Teller 1 and the surveillance video:

             a.     Victim Teller 1 then walked to the desk area behind the teller

counter, retrieved keys, walked back the teller counter, unlocked the top teller

drawer, removed large denomination bills of currency, and placed the bills in the

black duffle bag that the subject had placed on the teller counter.

             b.     The subject then left the teller station and exited the bank with

the duffle bag. As the subject walked toward the exit, both victim tellers pushed their

respective emergency alarm buttons.

      9.     Victim Teller 1 described the subject as a white male approximately 5

feet 7 inches tall in his late 30s, weighing approximately 160 pounds, wearing a dark

winter hat, a mask or fabric around his mouth, a black coat with gold buttons, winter

gloves, and dark sunglasses. According to Victim Teller 1, the subject kept one hand




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in his coat throughout the encounter. Victim Teller 1 was fearful for his/her safety

and the safety of others in the bank.

      10.    Victim Teller 2 described the robber as a white male, approximately 5

feet 5 inches to 5 feet 7 inches tall, approximately 170 pounds, with brown hair, and

wearing an old-style baseball cap, sunglasses, a neck scarf used as mask, a black

business type jacket, and dark slacks.

      11.    At the time of the robbery, the deposits of the Fifth Third Bank were

insured by the Federal Deposit Insurance Corporation. An audit later showed that

the subject received $224 from Teller 1; surveillance video and subsequent evidence

collection showed that the subject dropped $64 of that money on the floor before

exiting the bank.

      C.     Recovery of the Robber’s Cell Phone

      12.    According to the surveillance video, the subject placed a black

smartphone on the teller counter during the robbery and did not retrieve it before

exiting the bank.

      13.    According to LEOs and the surveillance video, when LEOs responded

several minutes later, bank employees pointed to a black cellular smartphone on the

teller counter where the subject was standing when the subject demanded money

from the bank tellers. LEOs recovered and inventoried the black smartphone. All

Fifth Third Bank employees present at the bank confirmed that the cell phone did

not belong to them and that it had not been on the teller counter prior to the subject

entering the bank.




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      D.     Surveillance Footage Around the Bank Shows the Robber
             Coming and Going from the Bank in a Gold Toyota Camry

      14.    As detailed below, in reviewing surveillance video from Fifth Third

Bank, a McDonald’s restaurant adjoining the bank, and video footage from the

Algonquin Road and New Wilke Road intersection red-light camera, LEOs

determined that the subject used a gold early-model Toyota Camry in the commission

of the robbery.

             i.   A gold Toyota Camry Arrives in the Parking Lot Next to the
                  Bank

      15.    LEOs reviewed surveillance video from the McDonald’s restaurant

located at 1775 West Algonquin Road in Rolling Meadows. The McDonald’s is directly

adjacent to the Fifth Third Bank. The parking area for the McDonald’s and the

parking area for the Fifth Third Bank are separated by a curb and a thin strip of

grass, as depicted in following Google Maps satellite image of the area:




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      16.   At approximately 4:48 p.m., a red-light camera video of the New Wilke

Road and Algonquin Road intersection shows a gold four-door Toyota Camry

traveling eastbound on Algonquin Road through the cross street of New Wilke Road.

The gold Camry had a yellow Illinois Temporary Registration bearing 211-AA-483.

The gold Camry also had visible damage to the rear bumper under the rear passenger

taillights, as depicted in the following still photograph from the red-light camera

footage:




      17.   Separately, also at approximately 4:48 p.m., McDonald’s surveillance

video footage from February 8, 2023, shows that a gold Toyota Camry entered the

north-facing McDonald’s entrance from eastbound Algonquin Road.

      18.   The gold Camry drives south along the west side of McDonald’s, turns

eastbound through the south parking lot, then turns northbound along the east side




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of McDonalds. Before leaving camera view, the vehicle stops, backs up southbound

and parks in the south parking lot. The below Google Maps satellite image depicts

the approximate movements of the gold Camry using red arrows. The dotted arrow

represents the approximate path of the vehicle as it reversed, and the red circle

depicts the approximate initially parking location of the gold Camry.




      19.    After remaining parked for a short period of time, the gold Toyota leaves

the parking space in the south parking lot and travels a short distance north along

the east side of the McDonalds before leaving camera view. McDonald’s surveillance

footage has a blind spot along the southeast quadrant of the McDonald’s parking lot,



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as depicted by the red-shaped oval, as follows, in a Google Maps satellite image of the

property:

             ii.    A Person Matching the Subject’s Description Travels from
                    the Area of the Parked Camry to the McDonalds

      20.    After the gold Camry leaves camera view it does not immediately

reappear in McDonald’s surveillance footage, which captures the east and northeast

area of the McDonald’s parking lot and property. Instead, after several minutes, a

subject wearing a black coat, black pants, black hat, and carrying a small black duffle

bag, matching the appearance of the subject from the Fifth Third Bank surveillance,

appears walking north from the area of the McDonald’s surveillance blind spot.

McDonald’s surveillance captures the subject enter the northeast entrance of the

McDonalds at approximately 4:58 p.m. on February 8.

      21.    McDonald’s surveillance footage of the interior of the restaurant shows

the subject walk through the McDonald’s and into the bathroom, located on the west

side of the building. McDonald’s surveillance footage shows the subject exit the

bathroom after a few minutes and then exit the McDonald’s from the west door.

McDonald’s surveillance footage shows the subject walk north along the west side of

McDonald’s to the northwest corner of the property before turning and walking

directly to the north-facing entrance of the Fifth Third Bank.

             iii.   The Subject Enters the Bank at 5:04 p.m.

      22.    McDonald’s surveillance shows the subject walk to the front entrance of

the bank at approximately 5:04 p.m. The following Google Maps satellite image




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shows the approximate movements, using red arrows, of the subject, on foot, as the

subject walks from the McDonald’s to the Fifth Third Bank:




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            iv.    The Subject Exits the Bank and Returns to the Direction of
                   the Gold Camry

      23.    At approximately 5:07 p.m., McDonald’s surveillance shows the subject

exit the Fifth Third Bank, and walk east, returning to the McDonald’s lot. The subject

continues east along the north side of the McDonald’s and then turns southbound,

and walks along the east side of the McDonald’s parking lot before entering the

McDonald’s surveillance blind spot on the southeast quadrant of the property. The

following Google Maps satellite image shows, via red arrows, the approximate

movements of the subject, on foot, walking from the Fifth Third Bank to the southeast

quadrant of the McDonald’s lot, which is out of camera view:




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             v.   The Gold Camry Then Leaves the Parking Lot

      24.    Approximately 10 to 15 seconds after the subject leaves camera view, a

gold four door vehicle, which appears to be a Toyota Camry bearing a yellow colored

license plate, emerges from the area of the McDonald’s surveillance blind spot,

traveling north through the east side of the McDonald’s parking lot as depicted as

follows:




      25.    McDonald’s surveillance footage captures the vehicle travel northbound

along the east side of the McDonald’s parking lot, turn left, traveling westbound along

the north side of the McDonald’s, before ultimately exiting through the north-side

exit of the McDonald’s. Surveillance footage captures the vehicle turning left onto

Algonquin Road, westbound, from the McDonald’s. As the vehicle makes the turn, it

cuts in front of another vehicle, also attempting to make a left turn to travel

westbound on Algonquin Road. The gold Camry is last seen traveling westbound on

Algonquin Road toward New Wilke Road at approximately 5:08 p.m.




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      E.     Identification of the Gold Toyota Camry

      26.    Illinois Secretary of State records show temporary registration 211-AA-

483 is owned by dealership KB MOTORS in New Lenox, Illinois. The registered

owner of the KB MOTORS dealership is listed as VICTOR ALI BARAKAT with a

telephone number of 224-245-2669 and an address in Joliet, Illinois.

      27.    As shown below, a review of KB MOTORS’s Website shows a gold 2005

Toyota Camry listed on the website as a vehicle for sale.




      28.     Only seven vehicles were listed on the website for sale and none of the

other vehicles listed for sale were Toyotas or gold in color. The surveillance footage

from McDonald’s and the intersection camera shows a gold Toyota Camry with

exterior paint damage on the upper portion of the rear passenger-side trunk of the

vehicle. The vehicle for sale on the KB MOTORS website shows the same paint

damage in the same location. The video footage from the red-light camera also shows

a large, distinctive dent to the rear passenger-side tail light area of the vehicle.

      29.    On February 9, 2023, LEOs went to KB MOTORS in New Lennox and

observed the gold Toyota Camry that was advertised on the dealership website. LEOs



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confirmed that the vehicle had the same paint damage on upper portion of the rear

passenger-side trunk of the vehicle and the same large, distinctive dent to the rear

passenger-side tail light area of the vehicle.

      30.    Based on my training and experience, a review of the McDonald’s

surveillance footage and the red light camera footage from the intersection of

Algonquin Road and New Wilke Road, and LEOs observation of the gold Toyota

Camry on the KB MOTORS lot, the vehicle on the website is the same vehicle used

by the subject in the commission of the Fifth Third Bank robbery.

      31.    On February 9, 2023, at approximately 12:15 p.m., after identifying

the Toyota Camry on the KB MOTORS lot, LEOs towed the vehicle to the FBI

evidence lot at 2111 W. Roosevelt Road in Chicago. The vehicle is currently at that

location and has not been entered or accessed.




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          F.    Identification of BARAKAT

          32.   Illinois Secretary of State records for VICTOR A BARAKAT list

BARAKAT as a white male, 5 feet 8 inches, 193 pounds, with black hair and brown

eyes, and 47 years old. BARAKAT’s Illinois Driver’s License listed an address in

Bolingbrook, Illinois.

          33.   On or about February 8, 2023, LEOs went to the Bolingbrook address

listed on BARAKAT’s Illinois Driver’s License and spoke with the current owners at

that residence. The current owners advised that they had purchased the home in

July 2022 from BARAKAT. The homeowners stated that BARAKAT had provided

his phone number as 224-245-2669, and they believed BARAKAT had moved to a

home in Joliet.

          34.   On or about February 8, 2023, at approximately 8:47 p.m., LEOs

attempted to contact BARAKAT at the phone number 224-245-2669. Upon dialing

the number, the black smartphone recovered from the Fifth Third Bank teller counter

began to ring. The black smartphone displayed the FBI agent’s phone number as the

caller.

          35.   Separately, the black smartphone, while in the possession of the FBI,

received multiple calls from the number 630-803-4217 between approximately 5:25

p.m. and 5:45 p.m., within thirty minutes of the bank robbery. A LexisNexis public

records search of the number 630 803 4217 revealed that it is associated with

VICTOR BARAKAT.




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      36.    On or about February 8, 2023, at approximately 10:04 p.m., LEOs called

630-803-4217. A male answered. The LEO posed as a citizen who had found the

black smartphone in a grassy area of the McDonald’s property on Algonquin Road in

Rolling Meadows, Illinois on the afternoon of February 8. The male voice confirmed

that the black smartphone was his and agreed to meet at a gas station across from

the McDonald’s on Algonquin Road that same evening. The male voice stated that

his name was “Victor.”

      37.    On or about February 9, 2023, at approximately 12:00 a.m., on February

9, 2023, LEOs set up surveillance at the corner of Algonquin Road and New Wilke

Road. At approximately 12:30 a.m., the 630 number called the LEO who had posed

at a civilian who found the black smartphone that robber left on the teller counter at

the Fifth Third Bank during the robbery. The LEO who answered the phone heard

the same male voice that had identified himself as “Victor” on the earlier call. Victor

stated that he was approximately ten minutes from the gas station. The LEO posing

as a civilian confirmed that the LEO would wait for Victor to arrive at the gas station.

Several minutes later, the 630 number, once more, called the LEO posing as a

civilian. The LEO, again, heard the same male voice who had previously identified

himself as “Victor.” Victor stated that he was now one minute away from the meetup

location at the gas station. Within a minute of this phone call, law enforcement

observed a maroon sedan enter the gas station.

      38.    LEOs activated their emergency lights and attempted to stop the

maroon sedan. The maroon sedan exited the gas station at a high rate of speed and




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traveled westbound on Algonquin Road. In the interest of public safety, LEOs did

not pursue the vehicle. During this encounter, no other vehicle had pulled into or

exited the gas station.

      39.    On February 13, 2023, LEOs went to the Joliet address listed as

BARAKAT’s residence in Illinois Secretary of State records and observed the

residence to be a newly constructed townhome.          LEOs located the property

management company of the condominium and spoke with Witness 2 at the property

management office. Witness 2 provided records for BARAKAT’s residence that listed

BARAKAT as one of the renters and listed phone number 224-245-2669 (the same

number discussed above) as BARAKAT’s phone number.

      40.    The records also listed Discovery Auto Sales, a used car dealership in

New Lennox, Illinois as an employer for one of the listed renters of the condominium.

Separately, LEOs learned from local law enforcement officers who were familiar with

BARAKAT that BARAKAT had previously worked at Discovery Auto Sales in New

Lennox, Illinois.

      41.    Based on this information, on February 13, 2023, LEOs went to

Discovery Auto Sales and spoke with the dealership’s owner, Witness 3. Witness 3

stated he/she has known relatives of BARAKAT for several decades. Witness 3 stated

Witness 3 has known BARAKAT for approximately four years and that BARAKAT

previously worked for Witness 3 at Discovery Auto Sales approximately two years

ago for approximately six months, in total. LEOs showed Witness 3 the following still

photograph from Fifth Third Bank Surveillance video footage:




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        42.   Witness 3 reviewed the photograph and positively identified BARAKAT

as the subject in the photograph.

        G.    Arrest of BARAKAT

        43.   On February 13, 2023, at approximately 9:05 p.m., local LEOs knocked

on the door of BARAKAT’s residence and identified themselves as law enforcement.

According to the LEOs, who were familiar with the physical characteristics of

BARAKAT based on BARAKAT’s Illinois driver’s license photograph, BARAKAT

then opened the door of the condominium.

        44.   According to local LEOs and the local LEOs body-worn camera footage,

which captured the interaction between BARAKAT and the local LEOs:

              a.    Local LEOs identified themselves and asked BARAKAT for his

name.

              b.    BARAKAT identified himself to LEOs as “Victor.”




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              c.    A local LEO then reached out to shake BARAKAT’s hand.

BARAKAT shook the LEO’s hand. The LEO then told BARAKAT that BARAKAT

was under arrest and attempted to place BARAKAT in custody.

              d.    BARAKAT, who was now on the front step of the condominium,

used his left hand to reach down to his left-side pants pocket, and retrieved a silver

semi-automatic handgun.

              e.    BARAKAT raised the gun toward the LEO who was still clasping

BARAKAT’s right hand in a handshake.

        45.   According to the local LEO who shook BARAKAT’s hand, the local LEO

heard the sound of the handgun click as BARAKAT began pointing it at the local

LEOs.

        46.   According to local LEOs and the local LEOs body-worn camera footage

which captured the interaction between BARAKAT and the local LEOs, local LEOs

were able to retrieve the handgun from BARAKAT’s left hand, subdued BARAKAT

to the ground, and then placed BARAKAT into custody at approximately 9:05 p.m.

        H.    Post-Miranda Statement of BARAKAT

        47.   BARAKAT was transported to the Joliet Police Department for further

processing. At approximately 12:09 a.m. on February 14, 2023, in a Joliet Police

Department interview room, FBI agents conducted an interview with BARAKAT that

was audio and video recorded. The agents confirmed BARAKAT’s identity and then

read BARAKAT Miranda rights from a preprinted form.             BARAKAT signed a

Miranda form stating that he understood his rights and agreed to speak with agents.




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        48.   During the course of the interview, BARAKAT did not deny committing

the February 8, 2023, bank robbery at Fifth Third, but did not admit to committing

the robbery, before ultimately ending the interview.

II.     CONCLUSION

        49.   Based on the above information, I respectfully submit that there is

probable cause to believe that on or about February 8, 2023, VICTOR BARAKAT did,

by force, violence and intimidation, take from the person or presence of another

money, namely $224 in United States Currency, belonging to and in the care, custody,

control, management, and possession of Fifth Third Bank, a bank whose deposits

were then insured by the Federal Deposit Insurance Corporation, in violation Title

18, United States Code, Section 2113(a), bank robbery.


                                        FURTHER AFFIANT SAYETH NOT,


                                        ROBERT P. ARONSON
                                        Special Agent, FBI


SWORN TO AND AFFIRMED by telephone February 14, 2023.


Honorable M. DAVID WEISMAN
United States Magistrate Judge




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